                     IN THE DISTRICT COURT OF THE UNITED STATES
                         FOR THE DISTRICT OF SOUTH CAROLINA
                                 GREENWOOD DIVISION

  UNITED STATES OF AMERICA                         )        CRIMINAL NO.: 8:19-00181
                                                   )
                v.                                 )
                                                   )
                                                   )
  DETRIC LEE MCGOWAN, a/k/a, “Fat”                 )
  DONALD NATHANIEL THOMAS, JR.,                    )
      a/k/a, “TJ”                                  )
  JAMAL DEMARCUS LATIMER                           )
  CHRISTOPHER JEROME                               )
  CUNNINGHAM                                       )
  RICHARD LAMOND LONGSHORE,                        )
      a/k/a, “Bam”                                 )
  CELEST HENRY BLOCKER                             )
  EDDIE LEE CHILDS, JR., a/k/a, “Speedy”           )
  TREVOR MAURICE HULL                              )
  DANNY MORALES LOPEZ                              )
  SHEQUITA LATOYA HOLLOWAY                         )
  LAUREN BROOKE POORE                              )

   ORDER TO UNSEAL SEIZURE WARRANT APPLICATIONS AND AFFIDAVITS

        It appearing to the Court that the applications and affidavits in support of seizure warrants

issued under Case Numbers: 6:19-380-JDA; 6:19-381-JDA and 6:19-382-JDA were filed under

seal;

        It further appearing that the sealing of the applications and affidavits in support of the

seizure warrants is not warranted, and upon motion of the attorneys for the Government,

        IT IS HEREBY ORDERED that the redacted applications and affidavits in support of the

seizure warrants filed Case Numbers: 6:19-380-JDA, 6:19-381-JDA and 6:19-382-JDA be

unsealed.

        AND IT IS SO ORDERED
s/Jacquelyn D. Austin
UNITED STATES MAGISTRATE JUDGE
April 22, 2019




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